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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


UNITED STATES OF AMERICA,

                       Plaintiff,                       NOTICE
v.                                                      Case No. 2:21-cr-237
                                                        JUDGE SARGUS, JR.
LEATHA INEZ SAVAGE,

                        Defendant.


        TAKE NOTICE that a proceeding in this case has been set for the place, date, and time
set forth below:

Place: United States District Court             GoToMeeting
       Joseph P. Kinneary U.S. Courthouse
       85 Marconi Boulevard                     December 13, 2021 at 9:30 a.m.
       Columbus, Ohio 43215

TYPE OF PROCEEDING: Arraignment on Information
If Defendant is on bond, it is the responsibility of counsel to notify the defendant of the
hearing, date, location and time.




                                          EDMUND A. SARGUS, JR.
                                          UNITED STATES DISTRICT JUDGE
DATE: December 7, 2021

                                             /s / Christin M. Werner
                                          (By) Christin M. Werner, Deputy Clerk
